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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                    :
WILLIAM C. TOTH JR., et al.,        :
                                    :
           Plaintiffs,
                                    :
     v.                             :
                                    :
LEIGH M. CHAPMAN, et al.,           :
                                    :   No. 1:22-cv-00208-JPW
           Defendants.              :
                                    :   Honorable Jennifer P. Wilson
     v.
                                    :
CAROL ANN CARTER, et al.,           :
                                    :
           Intervenor-Defendants.   :
                                    :
                                    :
                                    :


CARTER PETITIONERS’ BRIEF IN SUPPORT OF THEIR MOTION TO
    DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
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                                INTRODUCTION
      After Pennsylvania’s political branches were unable to enact a new

congressional redistricting plan following the 2020 Census, litigation commenced in

the Commonwealth’s state courts for the express purpose of adopting a new map.

That litigation involved Defendants, the Carter Petitioners, and more than a dozen

other parties, including political parties, legislators, and candidates. Its ultimate

result was the Pennsylvania Supreme Court’s adoption of the map that Plaintiffs now

seek to invalidate (the “2022 Congressional Map”).

      At no point did Plaintiffs seek to intervene in those proceedings to make the

argument that they now make to this Court: that the 2022 Congressional Map

violates the U.S. Constitution because the state courts lacked authority to approve a

map in the first place. Instead, Plaintiffs simply waited—for months. They did

absolutely nothing until it was evident that, having carefully considered all of the

evidence and multiple different proposed maps before it, the Pennsylvania Supreme

Court was poised to adopt the Carter Plan, which was the plan that deviated the least

from the previously court-approved plan that Pennsylvanians have been voting under

since 2018.

      Only then did Plaintiffs file this lawsuit in which they make a remarkable

request for relief that, if granted, would violate federal law and binding U.S.

Supreme Court precedent. Plaintiffs ask this Court to override the Pennsylvania
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Supreme Court’s order and force Pennsylvania to implement at-large elections for

the first time in centuries. But Plaintiffs’ claims fail on every level, including

jurisdictionally. And the relief they request would also cause widespread confusion

for voters and candidates, force the election calendar to reset entirely, and potentially

require moving the primary. Upon approving the 2022 Congressional Map, the

Pennsylvania Supreme Court ordered Defendants to begin conducting the election

“without delay.” Renewed Emergency Temporary Restraining Order (“Renewed

TRO”) Ex. 1 at 2-4, ECF No. 30-1. As a result, congressional elections in

Pennsylvania are well underway; candidates have been circulating nomination

petitions for almost a week, and the primary election is less than three months away.

      Plaintiffs would have this Court upend all of this, yet they provide no basis

for the extraordinary relief they request, nor can they justify the consequent intrusion

on state sovereignty. In fact, Plaintiffs have failed to even demonstrate that any court

has jurisdiction to hear their Elections Clause claims (Claims 1 and 2 of the Second

Amended Complaint): they cite only generalized and speculative injuries that do not

implicate any constitutional rights, they fail to identify a single injured party who

could support a claim under the Elections Clause, and their request defies the

Supreme Court’s clear directive that “a federal court must neither affirmatively

obstruct state reapportionment nor permit federal litigation to be used to impede it.”

Growe v. Emison, 507 U.S. 25, 34 (1993); see also id. (affirming state courts have a

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role in congressional reapportionment and holding that lower courts should not

“ignore[e] the . . . legitimacy of state judicial redistricting”) (emphasis in original).

      Under 28 U.S.C. § 2284, this Court has authority to dismiss Plaintiffs’

Elections Clause claims without convening a three-judge court because Plaintiffs

lack standing to assert those claims, and their Elections Clause challenges are

“legally . . . insubstantial.” Page v. Bartels, 248 F.3d 175, 191 (3d Cir. 2001) (citing

Goosby v. Osser, 409 U.S. 512, 518 (1973); Shapiro v. McManus, 577 U.S. 39, 44-

45 (2015).

      For these reasons, and those discussed below, this Court should dismiss

Plaintiffs’ Claim 1 (implementation of the 2022 Congressional Plan violates the

Elections Clause and 2 U.S.C. § 2a(c)(5)) and Claim 2 (changes to the election

deadlines prior to the primary election violate the Elections Clause) (the “Elections

Clause claims”).1

                                  BACKGROUND
      After the 2020 Census, which resulted in Pennsylvania losing a seat in the

U.S. House of Representatives, Pennsylvania had to redraw its congressional district

map. See Second Am. Compl. (“SAC”) Ex. 1 ¶¶ 2-3, ECF No. 49-2. But the General



1
  The Carter Petitioners are not moving to dismiss Plaintiffs’ Claim 3 (the 2022
Congressional Plan violates the Equal-Population Rule) at this time, but reserve the
right to do so at a later time, pursuant to the Court’s February 25 Order. See Order ¶
2, ECF No. 43.

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Assembly and Governor failed to reach agreement and came to an impasse. Id. ¶ 5.

Foreseeing this outcome, the Carter Petitioners filed a lawsuit in April 2021, noting

that the 2020 census results rendered the prior court-drawn congressional map

malapportioned and asking the Commonwealth Court to adopt a new constitutional

congressional map should the political branches fail to come to agreement. See

Carter v. Degraffenreid, No. 132 M.D. 2021, 2021 WL 4735059, at *7 (Pa. Commw.

Ct. Oct. 8, 2021). After considering multiple intervention motions and briefing and

argument on objections, the Commonwealth Court dismissed that case without

prejudice on ripeness grounds.

      On December 17, 2021, once it became unmistakable that the political

branches would in fact not reach agreement, the Carter Petitioners filed a new

petition, once again asking the Pennsylvania Commonwealth Court to declare the

2018 congressional map unconstitutional and adopt a constitutional congressional

districting plan. SAC ¶ 3, at 18-19. That litigation continued apace for the following

three months. Pursuant to the court’s scheduling order, ten parties sought

intervention by December 31, 2021; the court subsequently granted intervention for

six of those parties and allowed the other four to participate as amici. On January




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24, 2022, the Carter Petitioners, along with ten other participating parties,2 submitted

a total of 13 proposed maps to the Commonwealth Court for consideration. SAC Ex.

4, ECF No. 49-4. The Commonwealth Court held a two-day evidentiary hearing on

the proposed maps, stating at the start that it would proceed to adopt a new

congressional district map if the General Assembly and Governor failed to adopt one

by January 30. See SAC Ex. 9 at 14-15, ECF No. 49-9. That deadline passed without

a legislatively enacted map.

      On February 2, the Pennsylvania Supreme Court asserted extraordinary

jurisdiction over the redistricting litigation and scheduled oral argument. A week

later, the Court ordered that the state’s General Primary Calendar be “temporarily

suspended” pending further order to allow for adoption of a court-ordered plan. See

SAC Exs. 8, 10, ECF Nos. 49-8, 49-10.

      Plaintiffs initiated this action on February 11. They argue that the Elections

Clause forbids the state courts from adopting a map, and seek an injunction

compelling Defendants to hold at-large congressional elections instead. See

generally Compl., ECF No. 1. On February 20, more than a week after they first


2
 This includes the Gressman Petitioners, who filed a petition that was consolidated
with the Carter Petitioners’ case, as well as the following: (1) Republican
Legislative Intervenors, (2) Governor Wolf, (3) Senate Democratic Caucus
Intervenors, (4) House Democratic Caucus Intervenors, (5) Republican
Congressional Intervenors, (6) Voters of the Commonwealth amicus, (7) Citizen-
Voters amicus, (8) Draw the Lines PA amicus, and (9) Ali et al. amicus group.

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filed their complaint, Plaintiffs amended their complaint to add an additional

plaintiff. See generally Am. Compl., ECF No. 7. That same day, Plaintiffs also filed

an Emergency Motion for TRO or Preliminary Injunction seeking the same relief.

See Mot. Prelim. Inj. at 12, ECF No. 11.

      The state case continued and, on February 23, the Pennsylvania Supreme

Court ordered the implementation of the congressional plan submitted by Carter

Petitioners. SAC Ex. 11 at 2, ECF No. 49-11. Pursuant to the court-ordered election

calendar, congressional candidates began circulating nomination petitions under the

new map almost a week ago. State Defendants have also taken steps to implement

the 2022 Congressional Map. See id. at 3; see generally Exhibit A (filed. Feb. 25,

2022).

      After the Pennsylvania Supreme Court issued its ruling, Plaintiffs filed a

renewed Emergency Motion for TRO, which this Court denied on February 25 while

also setting a schedule for motions to dismiss and Plaintiffs’ pending Preliminary

Injunction motion. See Order at 1-2 ECF No. 43. On February 28, Plaintiffs appealed

that denial to the U.S. Supreme Court. See Notice of Appeal, ECF No. 50. That same

day, Plaintiffs sought leave to file a second amended complaint, which the Court

granted. See generally SAC; Order at 1, ECF No. 55.

      Through the SAC, Plaintiffs continue to ask this Court to abrogate the

Pennsylvania Supreme Court’s order adopting a new congressional map. SAC ¶ 75.

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Plaintiffs’ theory is that the Elections Clause of the U.S. Constitution prohibits

Defendants from implementing the new map and elections calendar adopted by the

Pennsylvania Supreme Court, and that 2 U.S.C. § 2a(c)(5) requires Pennsylvania to

hold at-large elections. See SAC ¶¶ 59-62, 64-66. Plaintiffs additionally allege that

the 2022 Congressional Map violates the Fourteenth Amendment’s equal population

requirement for congressional districts. Id. at 5, ¶¶ 6, 68.

                                 LEGAL STANDARD
       Plaintiffs’ Elections Clause claims should be dismissed under either Federal

Rule of Civil Procedure 12(b)(1) or 12(b)(6). The existence of subject matter

jurisdiction is a threshold issue, and absent a proper basis for it, a case must be

dismissed. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 96 (1998). Plaintiffs

bear the burden of showing that federal jurisdiction is appropriate. Samuel-Bassett

v. KIA Motors Am., Inc., 357 F.3d 392, 396 (3d Cir. 2004). Under Rule 12(b)(6), the

Court shall dismiss a complaint, in whole or in part, if the plaintiff has failed to “state

a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6); see also Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007) (a complaint must “state a claim to

relief that is plausible on its face”).

                                      ARGUMENT
       Under 28 U.S.C. § 2284, “[a] three-judge court is not required where the

district court itself lacks jurisdiction of the complaint or the complaint is not


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justiciable in the federal courts.” Shapiro, 577 U.S. at 44–45 (quoting Gonzalez v.

Automatic Emps. Credit Union, 419 U.S. 90, 100 (1974)). Thus, this Court has

authority to dismiss Plaintiffs’ Elections Clause claims without convening a three-

judge court because Plaintiffs lack standing and their Elections Clause claims are

legally insubstantial. Page, 248 F.3d at 191. “Insubstantiality in the claim may

appear because of absence of federal jurisdiction or lack of substantive merit” in a

claim. Md. Citizens for A Representative Gen. Assembly v. Governor of Md., 429

F.2d 606, 611 (4th Cir. 1970); see also id. (“When it thus appears that there is no

substantial question for a three-judge court to answer, dismissal of the claim for

injunctive relief by the single district judge is consistent with the purpose of the

three-judge statutes, and it avoids the waste and delay inherent in a cumbersome

procedure.”).

      In this case, Plaintiffs’ Elections Clause claims should be dismissed for three

independently sufficient reasons. First, Plaintiffs lack both Article III and prudential

standing to advance these claims. Second, Plaintiffs’ request for relief is moot. Third,

Plaintiffs fail to state a claim for relief. Each is addressed below.

I.    Plaintiffs lack standing to assert violations of the Elections Clause.
      The inquiry into standing “asks whether a litigant is entitled to have a federal

court resolve his grievance,” and “[t]his inquiry involves ‘both constitutional

limitations on federal-court jurisdiction and prudential limitations on its exercise.’”


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Kowalski v. Tesmer, 543 U.S. 125, 128-29 (2004) (quoting Warth v. Seldin, 422 U.S.

490, 498 (1975)). Plaintiffs cannot meet the requirements of constitutional or

prudential standing for their Elections Clause claims.

      A.     Plaintiffs do not meet the constitutional requirements of standing.
      Plaintiffs lack Article III standing to assert Elections Clause claims because

their only purported injuries are (1) common to all voters in Pennsylvania or (2)

speculative grievances untethered to any cognizable right.

      At its “irreducible constitutional minimum,” Article III standing requires (1)

an injury-in-fact that is (2) fairly traceable to the defendant’s conduct, and (3) likely

to be redressed by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560

(1992). Plaintiffs must demonstrate “an invasion of a legally protected interest” that

is “concrete and particularized.” Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016).

As a general matter, asserting a right “to have the Government act in accordance

with law” does not confer standing. Allen v. Wright, 468 U.S. 737, 754 (1984),

abrogated on other grounds by Lexmark Int’l, Inc. v. Static Control Components,

Inc., 572 U.S. 118, 126–27 (2014); see also TransUnion LLC v. Ramirez, 141 S. Ct.

2190, 2205 (2021) (“[U]nder Article III, an injury in law is not an injury in fact.

Only those plaintiffs who have been concretely harmed by a defendant’s . . . violation

may sue . . . over that violation in federal court.”) (emphasis added). When the injury

alleged by plaintiffs is undifferentiated and common to all members of the broader


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electorate, courts routinely dismiss such cases as “generalized grievances” that do

not support standing. See, e.g., United States v. Richardson, 418 U.S. 166, 173-74

(1974). This is the case here and this Court should dismiss.

             1.     Individual voters lack standing to assert Elections Clause
                    claims.
      The U.S. Supreme Court has held that private citizens do not have standing to

assert a claim under the Elections Clause absent a “particularized stake in the

litigation.” Lance v. Coffman, 549 U.S. 437, 442 (2007). In Lance, individual private

citizens launched a collateral attack on a congressional districting plan adopted by

the Colorado Supreme Court, arguing that only the state legislature could redistrict

under the Elections Clause. Id. at 438. After describing the Court’s “lengthy”

jurisprudence holding that federal courts should not serve as a forum for generalized

grievances,” the Court articulated the “obvious” problem with the plaintiffs’

standing:

      The only injury plaintiffs allege is that the law—specifically the
      Elections Clause—has not been followed. This injury is precisely the
      kind of undifferentiated, generalized grievance about the conduct of
      government that we have refused to countenance in the past. It is quite
      different from the sorts of injuries alleged by plaintiffs in voting rights
      cases where we have found standing.

Id. (emphasis added). Consistent with Lance, federal courts have repeatedly declined

to adjudicate Elections Clause claims brought by individual plaintiffs. See, e.g., Wise

v. Circosta, 2020 WL 6156302, at *6 (4th Cir. Oct. 20, 2020); Corman v. Torres,


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287 F. Supp. 3d 558, 567 (M.D. Pa. 2018) (three-judge court holding plaintiffs

lacked standing because claims “rest[ed] solely on the purported usurpation of the

Pennsylvania General Assembly’s exclusive rights under the Elections Clause”

which plaintiffs had no legal right to assert).

      In fact, the Third Circuit recently dismissed strikingly similar Elections

Clause claims asserted by one of the Plaintiffs currently before this Court, Jim

Bognet, for this same reason. In that case, Bognet, a congressional candidate at the

time, filed a lawsuit alleging violations of the Elections Clause after the

Pennsylvania Supreme Court extended elections deadline and addressed rules

relating to presumed timeliness of mail ballots. Bognet v. Sec’y Commonwealth of

Pennsylvania, 980 F.3d 336, 346 (3d Cir. 2020), cert. granted, judgment vacated

sub nom. Bognet v. Degraffenreid, 141 S. Ct. 2508 (2021). The Third Circuit

dismissed the case, holding that private individuals like Bognet lack standing to sue

for alleged injuries attributable to a state government’s purported violations of the

Elections Clause because those are not the type of particularized injuries giving rise

to a federal claim. Id. at 349-51.

      Plaintiffs’ claims fare no better this time. Bognet and the other Plaintiffs are

individual voters and private citizens who allege that Defendants’ enforcement of

the 2022 Congressional Map violates the Elections Clause. SAC ¶¶ 4-6, 52-53. In

other words, Plaintiffs once again assert an interest in “hav[ing] the Government act

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in accordance with law,” which is insufficient for Article III standing. Bognet, 980

F.3d at 348-49 (quoting Allen, 468 U.S. at 754). Any purported deprivation of rights,

if it exists, is felt by all Pennsylvania voters equally, and Plaintiffs thus lack standing.

See Allen, 468 U.S. at 754; DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 344

(2006) (finding plaintiffs did not have standing where plaintiff “suffers in some

indefinite way in common with people generally”).

              2. Candidate plaintiffs lack standing to assert Elections Clause
                 claims.
       Plaintiffs Bognet and Bashir additionally claim they are injured because they

are running for Congress, but their candidacy does not confer standing. In fact,

Bognet made the same claim in 2020, and the Third Circuit rejected it, finding that

such allegations still failed to establish that the challenged law affects the plaintiffs

“in a particularized way when, in fact, all candidates in Pennsylvania, including

[their] opponent[s],” are in a similar posture. Bognet, 980 F.3d at 351.

       Implicitly recognizing that Bognet forecloses their claim to candidate

standing, Bognet and Bashir try another gambit here, alleging injury based on the

“uncertain[ty] of how they should campaign for a seat” because the 2022

Congressional Map may be declared unlawful. SAC ¶ 56. But any such uncertainty

is caused by their own meritless lawsuit. It is well established that plaintiffs cannot

manufacture an injury and then claim standing, as plaintiffs attempt here. See



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Clapper v. Amnesty Int’l USA, 568 U.S. 398, 422 (2013) (Plaintiffs “cannot

manufacture standing” by incurring burdens “in anticipation of non-imminent

harm”). Even if there were a “substantial risk” that a federal court will “declare the

map unlawful,” SAC ¶ 56, that is a risk Plaintiffs chose to incur when they filed this

lawsuit. As reflected in the state court litigation, Pennsylvania voters, candidates,

and legislators—Republicans and Democrats alike—all agree that Pennsylvania

courts have authority to adopt and order the implementation of a congressional plan.

See, e.g., Exhibit B at 3 n.2 (filed Dec. 27, 2021). Plaintiffs alone are the ones to call

the finality of the 2022 Congressional Map into question. See Lujan, 504 U.S. at 564

n.2 (1992) (standing “has been stretched beyond the breaking point when, as here . .

. the acts necessary to make the injury happen are at least partly within the plaintiff’s

own control); Clapper, 568 U.S. 416 (“an enterprising plaintiff” should not be able

to achieve Article III standing by simply alleging injury they chose to incur “based

on a nonparanoid fear”).

      Bashir and Bognet’s allegations that the alleged “uncertainty” and “risk”

caused by their lawsuit will make it more difficult for them to raise money for their

campaigns is even more far afield. SAC ¶ 56. Injuries that “stem[] from an indefinite

risk of future harms inflicted by unknown third parties” are insufficient to confer

standing. Reilly v. Ceridian Corp., 664 F.3d 38, 42 (3d Cir. 2011) (citing Lujan, 504

U.S. at 564). And even if Plaintiffs could assert a cognizable injury based on the

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speculative fundraising concerns prompted by their own litigation, any alleged

injury would be inflicted not by Defendants, but by the Court should it grant

Plaintiffs’ requested relief. See Clapper, 568 U.S. at 418 (finding plaintiffs did not

have standing where their “self-inflicted injuries are not fairly traceable to”

defendants).

      Finally, Bashir separately alleges that he is injured because the 2022

Congressional Map “forc[es] him to run in a congressional district” that is more

Democratic than the Commonwealth overall. SAC ¶ 55. But elected officials and

candidates have “no legally cognizable interest in the composition of the district”

they hope to represent, Corman, 287 F. Supp. 3d at 569, and a legislator, or in this

case a candidate, “suffers no cognizable injury, in a due process sense or otherwise,

when the boundaries of his district are adjusted by reapportionment,” City of Phila.

v. Klutznick, 503 F. Supp. 663, 672 (E.D. Pa. 1980). Indeed, it is a “core principle of

republican government” that voters “choose their representatives, not the other way

around.” Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n, 576 U.S. 787,

823 (2015). This same principle necessarily extends to Bashir, who also has “no . . .

interest in representing any particular constituency.” Klutznick, 503 F. Supp. at 672;

see also Donald J. Trump for President, Inc. v. Boockvar, 502 F. Supp. 3d 899, 916

(M.D. Pa. 2020), aff’d sub nom. Donald J. Trump for President, Inc. v. Sec’y of Pa.,

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20-3384, 2021 WL 807531 (3d Cir. Jan. 7, 2021) (rejecting Plaintiffs’ assertion of

“competitive standing” based on the potential loss of an election).3

             3.     County election official Plaintiff Alan Hall lacks standing to
                    assert Elections Clause claims.
      The final Plaintiff, Alan Hall, claims that, as a member of the Susquehanna

Board of Elections, he has an injury-in-fact because Defendants’ failure to

implement at-large elections leaves him with uncertainty about how to administer

the upcoming primary. See SAC ¶ 57. The infirmities of this claim are evident. First,

once again the grievance is highly generalized. See Bognet, 980 F.3d at 351. The

Supreme Court has rejected standing based on undifferentiated grievances or

abstract policy statements, Gill v. Whitford, 138 S. Ct. 1916, 1931 (2018), such as

an interest in overseeing the lawful administration of elections, as Hall alleges here.

See SAC ¶ 57. Second, there is no uncertainty as to how to proceed—other than of

Plaintiffs’ own making—because the 2022 Congressional Map has been adopted,

and Hall is legally required to implement it.




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  Indeed, regardless of how a congressional map is adopted, Bashir is not “forced”
into any particular district or election and has no entitlement to or reason to expect
a district that aligns with his election prospects. Nothing in the Pennsylvania
Supreme Court’s decision precludes Bashir—or any other candidate—from running
for election in any district he wants.

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      B.     Plaintiffs do not meet the requirements for prudential standing.
      Even if any Plaintiff had suffered an injury sufficient for Article III purposes,

their claim would still be barred under prudential standing, as it is premised on the

General Assembly’s alleged exclusive authority to draw congressional districts. See

SAC ¶¶ 60-61. Prudential limitations require “that a party ‘generally must assert his

own legal rights and interests, and cannot rest his claim to relief on the legal rights

or interests of third parties.’” Kowalski, 543 U.S. at 129 (quoting Warth, 422 U.S. at

499). But Plaintiffs’ claims rest entirely on the alleged usurpation of institutional

rights held by the General Assembly, which is not before the Court and whose

interests cannot be advanced by individuals lacking authority to act on its behalf.

       Plaintiffs have also failed to identify any “‘hindrance’ to the [General

Assembly’s] ability to protect [its] own interests,” id. at 130 (quoting Powers v.

Ohio, 499 U.S. 400, 411 (1991)). “Absent a ‘hindrance’ to the third-party’s ability

to defend its own rights, this prudential limitation on standing cannot be excused.”

Corman, 287 F. Supp. 3d at 572 (quoting Kowalski, 543 U.S. at 130). Thus, applying

the “usual rule” of prudential standing, Virginia v. Am. Booksellers Ass’n Inc., 484

U.S. 383, 392 (1988), Plaintiffs cannot assert claims on behalf of the General

Assembly. Corman, 287 F. Supp. 3d at 571-73. For these reasons, Plaintiffs have

failed to demonstrate that they have standing, and their Elections Clause claims must

be dismissed. See id.


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II.   The Court should dismiss Plaintiffs’ Elections Clause claims because
      Plaintiffs’ request for relief is moot or, in the alternative, Plaintiffs fail to
      state a claim upon which relief may be granted.
      This Court should dismiss Plaintiffs’ Elections Clause claims (Claims 1 and

2 of the Second Amended Complaint) because they are now moot. “The mootness

doctrine is centrally concerned with the court’s ability to grant effective relief: If

developments occur during the course of adjudication that . . . prevent a court from

being able to grant the requested relief, the case must be dismissed as moot.’”

Ehrheart v. Verizon Wireless, 609 F.3d 590, 596 (3d Cir. 2010)). Plaintiffs argue

that Defendants must hold at-large elections pursuant to 2 U.S.C. § 2a(c)(5).

However, the Supreme Court unequivocally stated in Branch v. Smith that § 2a(c)(5)

is to be used only as a last resort and “inapplicable unless the state legislature, and

state . . . courts, have all failed to redistrict pursuant to § 2c.” 538 U.S. 254, 275

(2003) (emphasis in original).

      The last-resort remedy of § 2a(c)(5) is available only when, “on the eve of a

congressional election, no constitutional redistricting plan exists and there is no time

for either the State’s legislature or the courts to develop one.” Id. at 275 (emphasis

added). Here, the Pennsylvania Supreme Court has already adopted a lawful

congressional plan and State Defendants have already implemented that plan, in

accordance with 2 U.S.C. § 2c and U.S. Supreme Court precedent. Therefore,

“§2a(c) cannot be properly applied” because the state “court[] . . . effect[ed] the


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redistricting mandated by § 2c.” Id. As a result, the Court cannot “grant the requested

relief,” so “the case must be dismissed as moot.’” Ehrheart, 609 F.3d at 596.

      Branch also squarely forecloses Plaintiffs’ claims that only the state

legislature and not Pennsylvania state courts may redistrict. The Court in Branch

specifically held that 2 U.S.C. § 2c authorizes both state and federal courts “to

redistrict” and “embraces action by state and federal courts when the prescribed

legislative action has not been forthcoming.” 538 U.S. at 270, 272. As the Supreme

Court explained, “[Section] 2c is as readily enforced by courts as it is by state

legislatures.” Id. at 272. The Court reaffirmed this in Arizona State Legislature v.

Arizona Independent Redistricting Committee. Under § 2a(c), “Congress expressly

directed that when a State has been ‘redistricted in the manner provided by [state]

law’—whether by the legislature, court decree, or a commission established by the

people’s exercise of the initiative—the resulting districts are the ones that

presumptively will be used to elect Representatives.” 576 U.S. at 812 (quoting

Branch, 538 U.S. at 274; emphasis added).

      Indeed, the Supreme Court has been clear that not only may state courts step

in when the legislative process results in impasse over congressional plans, but they

should do so. As the Court explained in Growe v. Emison, “[t]he power of the

judiciary of a State to require valid reapportionment or to formulate a valid

redistricting plan has not only been recognized by this Court but appropriate action

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by the States in such cases has been specifically encouraged.” 507 U.S. at 33

(quotations omitted). In recognizing the state courts’ role to craft remedial plans, the

unanimous Court held that “[t]he District Court erred in not deferring to the state

court’s efforts to redraw Minnesota’s . . . federal congressional districts.” Id. at 42.

Far from restricting apportionment responsibilities to a state’s legislative branch

alone, the Court affirmed that congressional reapportionment may be conducted

“through [a state’s] legislative or judicial branch.” Id. at 33 (emphasis in original).

As a result, the Court found that the state court’s “issuance of its plan (conditioned

on the legislature’s failure to enact a constitutionally acceptable plan)” by a date

certain was “precisely the sort of state judicial supervision of redistricting [the Court]

has encouraged.” Id. Thus, the Supreme Court was clear in Growe that the district

court erred in “ignoring the . . . legitimacy of state judicial redistricting.” Id. at 34

(emphasis in original). The Court should decline Plaintiffs’ invitation to make the

same mistake here.

      Plaintiffs are also mistaken that courts may not alter election-related

deadlines, which they can and routinely do. See, e.g., Order, Harper v. Hall, No.

413P21 (N.C. Dec. 8, 2021) (postponing 2022 primary filing deadlines months

before primary); Order, In the Matter of 2022 Legislative Districting of the State,

Misc. Nos. 21, 24, 25, 26, 27 (Md. Feb. 11, 2022) (postponing candidate filing and

related deadlines months before 2022 primaries). Particularly where federal law

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strongly encourages state courts to implement congressional plans when the political

branches fail to act, judicial modification of election deadlines to effectuate those

maps is not only authorized, but essential.

                                  CONCLUSION
      For the foregoing reasons, the Court should grant the Carter Petitioners’

Motion to Dismiss Claim 1 and Claim 2 of the Plaintiffs’ Second Amended

Complaint.




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Dated: March 1, 2022                     Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing contains 4,647 words, based on the word

count of the word processing system used to prepare this brief, and thereby

complies with the Local Civil Rule 7.8.




DATED: March 1, 2022

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